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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


BRAIAN ADLER,

        Plaintiff,

v.                                          CASE NO.       3:16-cv-1559-J-25MCR


RESURGENT CAPITAL SERVICES, L.P.
and LVNV FUNDING, LLC,

     Defendants.
________________________________/

                                          ORDER

        Pursuant to Plaintiff’s Notice of Voluntary Dismissal (Dkt. 8), it is

        ORDERED that this action is DISMISSED with prejudice. The Clerk is directed

to close this case.

        DONE AND ORDERED at Jacksonville, Florida, this 15th day of February,

2017.




Copies to: Counsel of Record
